          Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 1 of 17




                                                                        FILED IN CLERK'S OFFICE
                                                                              LI . S. A , C. • Ata nts

                IN THE UNITE D STATES DISTRICT COURT
              F OR THE NORTHERN DISTRICT OF GEORGIA                          MAY 0 4 2910
                                ATLANTA DIVISION                         ~

MARY ELLEN SCHIER,

      Plaintiff,

V.                                           Civil

WIZARD ELECTRONICS, INC .,                   JURY TRIAL DEMANDEDY11''+i
                                                                                         X.0
COMMERCIAL AUDIO
SYSTEMS, INC . and
NATHANIEL C. HARRISON,
III,

      Defendants.

                                   COMPLAINT

      COMES NOW Plaintiff Mary Ellen Schier (Plaintiff'), by and through her

undersigned counsel, and files this Complaint against Defendant Wizard

Electronics, Inc . ("Wizard"), Defendant Commercial Audio Systems, Inc.

("Commercial") and Defendant Nathaniel C . Harrison,               III ("Harrison")

(collectively "Defendants") .

                                    PARTIES

       1 . Plaintiff is an individual, a resident / citizen of the State of Georgia

and resides at 3444 Centerset Court, Snellville, Georgia 30039 .


                                       _1_
          Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 2 of 17




      2 . Wizard is a company organized under the laws of the State of Georgia

with its principal place of business located at 1438 Tullie Road NE, Atlanta,

Georgia 30329 .

      3 . Wizard may be served via its registered agent for service of process -

Harrison, 1438 Tullie Road NE , Atlanta, Georgia 30329 .

      4. Commercial is a company organized under the laws of the State of

Georgia with its principal place of business located at 1438 Tullie Road NE,

Atlanta, Georgia 30329 .

      5 . Commercial may be served via its registered agent for service of

process - Harrison, 1438 Tullie Road NE, Atlanta, Georgia 30329 .

      6. Harrison is an individual and resident 1 citizen of the State of Georgia.

      7. Harrison is Wizard's CEO and, upon information and belief, the

owner of Wizard, sole shareholder of any and all of Wizard's issued / outstanding

shares of stock and/or majority shareholder of any and all of Wizard's issued

outstanding shares of stock .

      8 . Harrison is Commercial's CEO and, upon information and belief, the

owner of Commercial, sole shareholder of any and all of Commercial's issued /




                                       -2-
             Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 3 of 17




outstanding shares of stock and/or majority shareholder of any and all of

Commercial's issued /outstanding shares of stock .

      9 . Upon information and belief, Harrison resides at 3575 Kingsboro

Road NE, Atlanta, Georgia 30319 .

          10 . Harrison may be served at 1438 Tullie Road NE, Atlanta, Georgia

30329 .

                                     JURISDICTION

          11 . Pursuant to 28 U.S .C . § 1331, this Court has federal question

jurisdiction over Plaintiffs Complaint for violation of the Fair Labor Standards

Act, 29 U .S .C . § 201 et M.

          12 . Pursuant to 28 U .S .C. § 1367, this Court has supplemental jurisdiction

over Plaintiffs state law claims .

                                         VENUE

          13 . Venue is proper in this district and division pursuant to 28 U .S .C. §

1391(b)(1) because Defendants reside in the State of Georgia and within the

Northern District of Georgia .

          14 . Venue is also proper in this district and division pursuant to 28 U .S.C.

§ 1391(b)(2) because a substantial part of the events / omissions giving rise to


                                           _3_
           Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 4 of 17




Plaintiffs Complaint occurred within the Northern District of Georgia and/or a

substantial part of the property at issue in Plaintiff's Complaint is situated in the

Northern District of Georgia .

                            FACTUAL BACKGROUND

       15 . In or around the 2004, Plaintiff was hired by Defendants .

       16 . Throughout Plaintiffs employment with Defendants, she was

employed by Defendants their "Accounts Payable Manager" and/or "Office

Manager ."

       17 . At no time during Plaintiffs employment with Defendants did she

agree to be the i r CFO .

       18 . At no time during Plaintiffs employment with Defendants did she

authorize or give Defendants permission to list her as their CFO with the Georgia

Secretary of State and/or on the Georgia Secretary of State's Website .

       19 . At no time during Plaintiff's employment with Defendants did she

authorize or give Defendants permission to represent to anyone that she was their

CFO.

       20 . At all relevant times, other than the approximate last week or two of

Plaintiffs employment with Wizard and Harrison, Plaintiff's contract with Wizard


                                        -4-
          Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 5 of 17




and Harrison was that she would be paid $725 .00 per week (Plaintiff's contract

with Wizard and Harrison the approximate last week or two of her employment

with Wizard and Harrison may have been for ten or fifteen percent less per week) .

      21 . At all relevant times, Plaintiffs contract with Commercial and

Harrison was that she would be paid $184 .00 per week .

      22 . On or about May 13, 2010, Plaintiff resigned from her employment

with Defendants, in part because Defendants repeatedly and willfully failed and

refused to pay her.

      23 . Wizard and Harrison repeatedly and willfully failed and refused to

pay Plaintiff from approximately December 2009 through the end of her

employment - approximately $16,000 .00.

      24 . Commercial and Harrison repeatedly and willfully failed and refused

to pay Plaintiff for approximately the last three weeks of her employment --

approximately $552 .00.

      25 . Not only did Defendants repeatedly and willfully fail and refuse to

pay Plaintiff the above amounts for the above weeks pursuant to the above

contracts, Defendants also repeatedly and willfully failed and refused to pay




                                       -5-
          Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 6 of 17




Plaintiff at least minimum wage for each and every hour she worked during such

weeks .

      26 . Plaintiff also worked in excess of forty hours per week during many

weeks of her employment with Defendants, including during many, if not all, of

the weeks from approximately December 2009 through the end of her employment

with Defendants .

      27 . Defendants also repeatedly and willfully failed and refused to pay

Plaintiff time and one half (i .e., overtime) for the time that she worked in excess of

forty hours per week during the weeks from approximately December 2009

through the end of her employment with Defendants .

                                COUNTS / CLAIMS

 Count / Cla i m I - FLSA Minimum Wade Violation (A zainst All Defendants)

      28 . Plaintiff realleges and incorporates as if fully set forth herein the

allegations set forth in all of the above paragraphs.

      29 . At all relevant times, Harrison was Wizard's CEO and, upon

information and belief, the owner of Wizard / sole shareholder / majority

shareholder of any and all of Wizard's issued 1 outstanding shares of stock .




                                         -6-
             Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 7 of 17




      30 . At all relevant times, Harrison acted directly in the interest of Wizard

in relation to Plaintiff as defined by the FLSA .

      31 .     At all relevant times, Harrison was Commercial's CEO and, upon

information and belief, the owner of Commercial / sole shareholder / majority

shareholder of any and all of Commercial's issued /outstanding shares of stock .

      32 . At all relevant times, Harrison acted directly in the interest of

Commercial in relation to Plaintiff as defined by the FLSA .

      33 . At all relevant times, Defendants were Plaintiff's employers as

defined by the FLSA .

      34 . At all relevant times, Defendants were subject to the minimum wage

provisions of the FLSA .

      35 . At all relevant times, Plaintiff was an employee of Defendants -

specifically, "Office Manager" and/or "Accounts Payable Manager ."

      36 .     At all relevant times , Plaintiff was entitled to at least minimum wage

pursuant to the FLSA .

      37 . Wizard and Harrison repeatedly and willfully failed and refused to

pay Plaintiff at least minimum wage for each and every hour she worked during




                                          -7-
             Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 8 of 17




each week from approximately December 2009 through the end of her employment

with Wizard and Harrison .

       38 . Harrison may be held individually /personally liable along with

Wizard for violating the minimum wage provisions of the FLSA .

       39 . Commercial and Harrison repeatedly and willfully failed and refused

to pay Plaintiff at least minimum wage for each and every hour she worked during

the approximate last three weeks of her employment with Commercial and

Harrison .

       40 . Harrison may be held individually / personally liable along with

Commercial for violating the minimum wage provisions of the FLSA .

       41 . As a result of Defendants' violations of the FLSA, Plaintiff has

suffered damages .

    Count / Claim II - FLSA Overtime Violation (Against All Defendants)

       42 . Plaintiff realleges and incorporates as if fully set forth herein the

allegations set forth in all of the above paragraphs.

       43 . At all relevant times, Harrison was Wizard's CEO and, upon

information and belief, the owner of Wizard / sole shareholder / majority

shareholder of any and all of Wizard's issued / outstanding shares of stock .


                                         -8-
           Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 9 of 17




      44 . At all relevant times, Harrison acted directly in the interest of Wizard

in relation to Plaintiff as defined by the FLSA .

      45 . At all relevant times, Harrison was Commercial's CEO and, upon

information and belief, the owner of Commercial /sole shareholder / majority

shareholder of any and all of Commercial's issued / outstanding shares of stock .

      46 . At all relevant times, Harrison acted directly in the interest of

Commercial in relation to Plaintiff as defined by the FLSA .

      47 . At all relevant times, Defendants were Plaintiff's employers as

defined by the FLSA .

      48 . At all relevant times, Defendants were subject to the overtime

provisions of the FLSA .

      49 . At all relevant times, Plaintiff was an employee of Defendants -

specifically, "Office Manager" and/or "Accounts Payable Manager ."

      50 . At all relevant times, in order for Plaintiff to have been exempt from

overtime pursuant to the FLSA, she must, among other things, have been paid at

least $455 .00 per week .




                                          -9-
              Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 10 of 17




       51 . From approximately December 2009 through the end of Plaintiffs

employment, Wizard and Harrison repeatedly and willfully failed and refused to

pay Plaintiff at least $455 .00 per week .

       52 .     For approximately the last three weeks of Plaintiff's employment,

Commercial and Harrison repeatedly and willfully failed and refused to pay

Plaintiff at least $455 .00 per week .

       53 . Plaintiff worked in excess of forty hours per week during many weeks

of her employment with Wizard and Harrison, including during many, if not all, of

the weeks from approximately December 2009 through the end of her employment

with Wizard and Harrison .

       54 . Plaintiff worked in excess of forty hours per week during many weeks

of her employment with Commercial and Harrison, including during most, if not

all, of the approximate last three weeks of her employment with Commercial and

Harrison .

       55 . As a result of Wizard's and Harrison's failure to pay Plaintiff at least

$455 .00 per week from approximately December 2009 through the end of

Plaintiffs employment with Wizard and Harrison, Plaintiff is entitled to time and




                                             - 10 -
          Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 11 of 17




one half (i .e., overtime) for the time that she worked in excess of forty hours

during each such week.

        56 . Harrison may be held individually / personally liable along with

Wizard for violating the overtime provisions of the FLSA .

        57. As a result of Commercial's and Harrison's failure to pay Plaintiff at

least $455 .00 per week for the approximately last three weeks of her employment

with Commercial and Harrison, Plaintiff is entitled to time and one half (i .e.,

overtime) for the time that she worked in excess of forty hours during each such

week.

        58 . Harrison may be held individually / personally liable along with

Commercial for violating the overtime provisions of the FLSA .

        59 . As a result of Defendants' violations of the FLSA, Plaintiff has

suffered damages .

         Count 1 Claim III - Breach of Contract (Against All D efendants)

        60. Plaintiff realleges and incorporates as if fully set forth herein the

allegations set forth in all of the above paragraphs .

        61 . Plaintiff's contracts with Defendants are valid and enforceable .

        62. Defendants breached their contracts with Plaintiff .


                                         -11-
             Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 12 of 17




      63 .     Defendants repeatedly and willfully failed and refused to pay Plaintiff

in accordance their contracts with Plaintiff .

      64. At all relevant times, Harrison was Wizard's CEO and, upon

information and belief, the owner of Wizard /sole shareholder              / majority

shareholder of any and all of Wizard's issued 1 outstanding shares of stock .

      65 .     Harri s on may be held individually 1 personally liable along with

Wizard for breach of contract .

      66. At all relevant times, Harrison was Commercial's CEO and, upon

information and belief, the owner of Wizard / sole shareholder / majority

shareholder of any and all of Wizard's issued / outstanding shares of stock .

      67 . Harrison may be held individually / personally liable along with

Commercial for breach of contract .

      68 . As a result of Defendants' breaches of their contracts with Plaintiff,

Plaintiff has suffered damages .

  Count / Claim IV - All Litigation Expenses, Including Attorney's Fees and
      Costs, Pursuant to O.C.G.A. § 13-6-11 (Against All Defendants)

      69 . Plaintiff realleges and incorporates as if fully set forth herein the

allegations set forth in all of the above paragraphs .



                                          - 12-
            Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 13 of 17




      70 . Defendants have acted in bad faith, have been stubbornly litigious,

and have caused Plaintiff unnecessary trouble and expense .

      71 . At all relevant times, Harrison was Wizard's CEO and, upon

information and belief, the owner of Wizard / sole shareholder / majority

shareholder of any and all of Wizard's issued /outstanding shares of stock .

      72 . Harrison may be held individually / personally liable along with

Wizard with regard to Plaintiffs O .C.G.A. § 13-6-11 claim .

      73 . At all relevant times, Harrison was Commercial's CEO and, upon

information and belief, the owner of Wizard / sole shareholder / majority

shareholder of any and all of Wizard's issued / outstanding shares of stock .

      74 . Harrison may be held individually / personally liable along with

Commercial with regard to Plaintiff's O .C.G.A. § 13-6-11 claim .

      75 . As a result of Defendants acting in bad faith, being stubbornly

litigious and causing Plaintiff unnecessary trouble and expense, Plaintiff has

suffered damages .

      Count / Claim V - Declaratory Judgment (A 2ainst All Defendants)

      76.     Plaintiff realleges and incorporates as if fully set forth herein the

allegations set forth in all of the above paragraphs .


                                         -I3-
              Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 14 of 17




       77 . At no time during Plaintiff's employment with Defendants did she

agree to be their CFO .

       78 . Plaintiff is entitled to a declaratory judgment that, at no time during

her employment with Defendants, did she agree to be their CFO .

       79 . At no time during Plaintiff's employment with Defendants did she

authorize or give Defendants permission to list her as their CFO with the Georgia

Secretary of State and/or on the Georgia Secretary of State's Website .

       80 .     Plaintiff is entitled to a declaratory judgment that, at no time during

her employment with Defendants, did she authorize or give Defendants permission

to list her as their CFO with the Georgia Secretary of State and/or on the Georgia

Secretary of State's Website .

       81 . At no time during Plaintiffs employment with Defendants did she

authorize or give Defendants permission to represent to anyone that she was their

CFO.

       82 . Plaintiff is entitled to a declaratory judgment that, at no time during

her employment with Defendants, did she authorize or give Defendants permission

to represent to anyone that she was their CFO .

                                PRAYER FOR RELIEF


                                          -14-
      Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 15 of 17




WHEREFORE, Plaintiff prays for the following relief :

(a) That judgment be entered in Plaintiff" s favor and against Defendants

        on all of Plaintiff's c laims ;

(b)     That Plaintiff be awarded all of her unpaid minimum wages pursuant

        to the FLSA ;

(c) That Plaintiff be awarded liquidated damages in an amount equal to

        all of her unpaid minimum wages pursuant to the FLSA ;

(d) That Plaintiff be awarded all of her unpaid overtime wages pursuant

        to the FLSA ;

(e) That Plaintiff be awarded liquidated damages in an amount equal to

        all of her unpaid overtime wages pursuant to the FLSA ;

(f)     That Plaintiff be awarded all of her attorney's fees, costs and litigation

         expenses pursuant to the FLSA ;

(g) That Plaintiff be awarded all of her breach of contract damages as

         allowed by law ;

(h) That Plaintiff be awarded all of her litigation expenses, including

         attorney's fees and costs, pursuant to O .C .G.A. § 13-6-11 ;

(i) For the declaratory judgment sought in Plaintiffs Complaint ; and


                                          - 15-
         Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 16 of 17




             That That Plaintiff be awarded any and all other and further relief as the

             Court deems just, proper and/or appropriate .

                           JURY TRIAL DEMANDED

      Respectfully submitted this the 6th day of May, 2010 .




                                               Preston B . Davis
                                               Georgia Bar No . 141999
                                               pre__s_ ton(u~pbdavislaw .com
                                               Counsel for Plaintiff

LAW OFFICE OF PRESTON B. DAVIS, LLC
4488 S . Springwood Dr . SW
Smyrna, GA 30082
Telephone : (678) 372-2477
Facsimile : (678) 945-5080

Counsel for Plaintiff




                                        -16-
         Case 1:10-cv-01353-JEC Document 1 Filed 05/06/10 Page 17 of 17




                        CERTIFICATION OF COUNSEL

      Pursuant to Local Rule 7 .1, N .D. Ga., the undersigned counsel certifies that

this document was prepared with Times New Roman (14 point), one of the font

and point selections approved by the Court in Local Rule 5 . 1B, N.D. Ga.

      Respectfully submitted this the 6th day of May, 2010 .




                                              Preston B . Davis
                                              Georgia Bar No . 141999
                                              preston(d),pbdavis law. coxn
                                              Counsel for Plaintiff

LAW OFFICE OF PRESTON B . DAMS, LLC
4488 S. Springwood Dr . SW
Smyrna, GA 30082
Telephone : (678) 372-2477
Facsimile : (678) 945-5080

Counsel for Plaintiff




                                       -17-
